

Johnson v Board of Mgrs. of Shorehaven Condominium (2023 NY Slip Op 50193(U))



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Johnson v Board of Mgrs. of Shorehaven Condominium


2023 NY Slip Op 50193(U)


Decided on March 15, 2023


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on March 15, 2023
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Tisch, J.P., Michael, James, JJ.



570541/22

Yolanda Johnson, Plaintiff-Appellant, 
againstBoard of Managers of Shorehaven Condominium and Shorehaven Homeowners Association, Inc., Defendants-Respondents.




Plaintiff appeals from an order of the Small Claims Part of the Civil Court of the City of New York, Bronx County (Naita A. Semaj, J.), entered on or about November 12, 2021, which granted defendants' motions to dismiss the action at the close of plaintiff's evidence.




Per Curiam.
Order (Naita A. Semaj, J.), entered on or about November 12, 2021, affirmed, without costs.
The record establishes that the trial court accomplished "substantial justice" in dismissing the claim at the close of plaintiff's evidence (CCA 1804, 1807; see Williams v Roper, 269 AD2d 125, 126 [2000], lv dismissed 95 NY2d 898 [2000]). Even assuming in plaintiff's favor that the reference to "water damage" insurance in the condominium bylaws covered "flood insurance" (cf. Palmero v Consulate on the Park, 149 Misc 2d 942 [App Term, 2d Dept, 9th &amp; 10th Jud Dists 1991]; Dan M. Blumenthal, Prac Commentaries, McKinney's Cons Laws of NY, RPL § 339-bb), the bylaws unambiguously establish that the Board's obligation to purchase such insurance is discretionary, not mandatory. Therefore, plaintiff condominium owner has no claim for damages against the condominium board, among others, based upon the latter's determination to discontinue flood insurance. Contrary to plaintiff's further contention, the bylaws required the insurer, not defendants, to provide ten days' notice in the event of a change or cancellation of coverage.
We have considered plaintiff's remaining contentions and find them to be without merit. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: March 15, 2023









